Case 8:08-cr-00223-AG Document 21-2 Filed 08/27/08 Page 1of1 Page ID #:67

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA ©2(G\NAL

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UNITED STATES OF AMERICA, CASE No. SA CR 0
S| ACRO8-223

Plaintiff, NOTICE TO COURT
OF RELATED CRIMINAL CASE
Vv.
(PURSUANT TO GENERAL ORDER 224)
JERRY FANYUAN LIN, JASON I. MING WEI,
REN SUI, a.k.a. “Jeffrey,” ERIK DAMIEN
VICENTE, JOSE G. GARIBAY, a.k.a. “Guero,”
SHANE KELTER, ADRIAN GARCIA DE ALBA, a
a.k.a. “Pedro,” JAGMOHAN S. DHILLON, as

~~ A

 

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So
PARAMIJT SINGH, a.k.a “Pumma,” ON =
WALTHER EDGARDO ORELLANA AGUILAR, ~ Tj
a.k.a. “Sharky,” Ser re ~
FAUSTO VILLA PEREZ, MING CHIEN HSIEH, co
a.k.a. “Sonny,” a

HONG YEE CHOW, a.k.a. “Annie,”
MARCO ANTONIO SILVA MOTA,
ALEXANDER CHIANG POU,
a.k.a. “Alex,”
NATHANAEL GARRARD LINEHAM,
a.k.a. “Nat,”
MICHELLE ENCK,

 

Defendant.

 

Plaintiff United States of America hereby informs the Court that the above-entitled criminal case

may be related to United States v. _ Alexandru Sabau ,
Case No. SA CR 08-00191-AG , which:

X was previously assigned to the Honorable Guilford ;
have not been previously assigned.

 

The above-entitled cases may be related for the following reasons:

Xx the cases arise out of the same conspiracy, common scheme, transaction, series of
transactions or events;

 

the cases involve one or more defendants in common and would entail substantial
duplication of labor in pretrial, trial or sentencing proceedings if heard by different

JA

Terri K. Ryn

fs Assistant United States Attorney
(NOTICE FRM - 6/98) a 2 /

Additional explanation (i

BOGE

    

DATED:
